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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

Case No.     2:22-cv-03403-FLA (ASx)                                   Date   May 12, 2023
Title        Ken Callen, et al. v. Resonant, Inc. et al.



 Present: The Honorable         FERNANDO L. AENLLE-ROCHA
                                UNITED STATES DISTRICT JUDGE
                 T. Freeman                                          Not Reported
                 Deputy Clerk                                  Court Reporter / Recorder
           Attorneys Present for Plaintiff:                Attorneys Present for Defendants:
                    Not Present                                      Not Present

 Proceeding:       ORDER REGARDING PLAINTIFF’S REQUEST FOR RULING ON
                   MOTION [DKT. 49]

        On October 21, 2022, Defendants Resonant Inc., George B. Holmes, Michael J. Fox,
 Ruben Caballero, Alan B. Howe, Jack H. Jacobs, Joshua Jacobs, Jean F. Rankin, Robert
 Tirva, and Martin S. McDermut (“Defendants”) filed a Motion to Dismiss the Amended
 Complaint (“Motion”). Dkt. 33. The court took the Motion under submission on January 30,
 2023. Dkt. 48. On May 5, 2023, the parties filed a Joint Request for Decision Pursuant to
 Local Rule 83-9.2. Dkt. 49.

         Courts in this district are exceedingly busy with 562 weighted civil filings per
 Judgeship, which is among the highest number in the nation. See JUDICIAL EMERGENCIES
 (last updated May 12, 2023), https://www.uscourts.gov/judges-judgeships/judicial-
 vacancies/judicial-emergencies. That figure does not include each active judge’s criminal
 docket. In 2020, 10 of 28 authorized judgeships in this district were vacant. In 2023, four
 vacancies remain. In its most recent recommendation, released in March 2023, the Judicial
 Conference recommended Congress authorize an additional 9 district court judgeships for
 the Central District of California, in light of the number of weighted case filings, the
 complexity of matters filed in this court, and the population of this district. U.S. Courts,
 FEDERAL JUDICIARY SEEKS NEW JUDGESHIP POSITIONS (Mar. 14, 2023),
 https://www.uscourts.gov/news/2023/03/14/federal-judiciary-seeks-new-judgeship-positions.
 This is the highest number of recommended additional judgeships of any district in the
 country.

        This court has a significant number of parties in criminal and civil cases awaiting trial,
 some of whom are in custody. In issuing its rulings on motions, the court considers factors
 including whether the action is criminal or civil, the custody status of the defendant, the age
 of the action and any pending motion(s), the specific needs of each case, and the urgency of
 the requested relief.


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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No.    2:22-cv-03403-FLA (ASx)                                   Date        May 12, 2023
Title       Ken Callen, et al. v. Resonant, Inc. et al.

        Pursuant to Local Rules 83-9.3, the court informs the parties that it will render a ruling
 on the Motion, Dkt. 33, by January 12, 2024.


        IT IS SO ORDERED.

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                                                      Initials of Preparer   tf




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